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7    Attorney for Secured Creditor
     Bosco Credit LLC
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9
                            UNITED STATES BANKRUPTCY COURT
10
                             NORTHERN DISTRICT OF CALIFORNIA
11
                                      OAKLAND DIVISION
12
13   In Re: Edwin Nalupita Caoili & Trinidad           )    CASE NO.: 18-41611
14   Rodrigo Caoili                                    )
                                                       )
15                                                     )    CHAPTER 13
                                                       )
16
                                                       )    OBJECTION TO CHAPTER 13
17          Debtor.                                    )    PLAN
                                                       )
18                                                     )    341(a) Meeting of Creditors:
                                                       )    Date: 8/23/18
19
                                                       )    Time: 9:00 AM
20                                                     )    Place: Oakland U.S. Trustee Office
                                                       )    13th Floor
21                                                     )
22                                                     )
                                                       )    Judge: Roger L Efremsky
23                                                     )
                                                       )
24                                                     )
25                                                     )
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                                                   1                                         18-41611
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                                                                               Objection      1 of 5
                                                                                         to Plan
1    TO ALL PARTIES IN INTEREST AND TO THEIR ATTORNEYS OF RECORD:
2            Bosco Credit LLC, (“Secured Creditor”) in the above-entitled Bankruptcy proceeding,
3    hereby submits the following Objections to Confirmation of the Chapter 13 Plan proposed by
4    (“Debtors”) Edwin Caoili & Trinidad Caoili.
5            Secured Creditor is entitled to receive payments pursuant to a Promissory Note & Loan
6    Modification Agreement which matures on 1/20/30 and is secured by a Deed of Trust on the
7    subject property commonly known as 6727 Spruce Lane, Dublin, CA 94568. As of 7/13/18, the
8    approximate amount in default was $1,506.24, as will be described in the forethcoming Proof of
9    Claim to be filed by Secured Creditor; Secured Creditor files this Objection to protect its
10   interests.
11                                           ARGUMENT
12           Under 11 U.S.C. §1325, the provisions for plan confirmation in a Chapter 13 have been

13   set. Unless otherwise ordered, under 11 U.S.C. § 1326(a)(1), the Debtor shall commence making

14   the payments proposed by the Plan within 30 days after the Petition is filed. The Plan must

15   comply with all applicable provisions of 11 U.S.C. § 1325 to be confirmed. Based on the

16   foregoing, as more fullyg detailed below, the Plan cannot be confirmed as proposed.

17
18           A. IMPERMISSIBLY MODIFIES SECURED CREDITOR’S RIGHTS

19           Under 11 U.S.C. §1322(b)(2), a Plan that modifies the rights of a creditor whose claim

20   is secured only by a security interest in real property that is debtor’s principal residence is

21   impermissible. The plan lists no arrears when the actual arrears are $1506.24. That reduction in

22   arrears is an inpermissable modification. The proposed Plan also does not set forth a reasonable

23   schedule and time period for the payment of the arrearages owed to Secured Creditor because
     Secured Creditor is not included in the Plan. To cure the pre-petition arrearages of $1,506.24
24
     over a 60 month Plan, Secured Creditor must receive a minimum payment of $25.10 per month
25
     from the Debtor through the Plan. Debtor’s Plan provides for payments to the Trustee in the
26
     amount of $0 per month. Therefore, the Plan is not feasible.
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                                                    2                                         18-41611
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                                                                                Objection      2 of 5
                                                                                          to Plan
1                                           CONCLUSION
2           Any Chapter 13 Plan proposed by the Debtor must provide for and eliminate the
3    Objections specified above in order to be reasonable and to comply with applicable provisions
4    of the Bankruptcy Code. Secured Creditor respectfully requests that confirmation of the Chapter
5    13 Plan as proposed by the Debtor be denied.
6           WHEREFORE, Secured Creditor prays as follows:
7           1.     Confirmation of the Proposed Chapter 13 Plan be denied; or, in the alternative,
8           2.     Debtor’s plan be amended to reflect the arrears amount listed in Secured
9                  Creditor’s filed proof of claim
10          3.     For attorneys’ fees and costs herein, and
11          4.     For such other relief as this Court deems proper.

12
13   Dated: August 16, 2018                      LAW OFFICES OF MICHELLE GHIDOTTI

14
15                                               /s/ Adam Thursby
                                                 Adam Thursby, Esq.
16                                               Counsel for Bosco Credit LLC
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                                                                                 Objection      3 of 5
                                                                                           to Plan
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 7   Attorney for Creditor
     Bosco Credit LLC
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 9
                               UNITED STATES BANKRUPTCY COURT
10
                  NORTHERN DISTRICT OF CALIFORNIA – OAKLAND DIVISION
11
12   In Re:                                               )   CASE NO.: 18-41611
                                                          )
13   Edwin Nalupita Caoili and Trinidad Rodrigo           )   CHAPTER 13
     Caoili,                                              )
14
                                                          )   CERTIFICATE OF SERVICE
15            Debtors.                                    )
                                                          )
16                                                        )
                                                          )
17
                                                          )
18                                                        )
                                                          )
19                                                        )
20
21                                    CERTIFICATE OF SERVICE
22
              I am employed in the County of Orange, State of California. I am over the age of
23
24   eighteen and not a party to the within action. My business address is: 1920 Old Tustin Ave.,

25   Santa Ana, CA 92705.
26            I am readily familiar with the business’s practice for collection and processing of
27
     correspondence for mailing with the United States Postal Service; such correspondence would
28
     be deposited with the United States Postal Service the same day of deposit in the ordinary

     course of business.
                                                      1
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                                       CERTIFICATE           08/16/18 15:20:02
                                                    OF SERVICE                            Page 4 of 5
 1   On August 16, 2018 I served the following documents described as:
 2                 OBJECTION TO CHAPTER 13 PLAN
 3
     on the interested parties in this action by placing a true and correct copy thereof in a sealed
 4
     envelope addressed as follows:
 5
 6   (Via United States Mail)
     Debtor                                               Debtors’ Counsel
 7   Edwin Nalupita Caoili                                Anh Nguyen
     6727 Spruce Lane                                     Law Offices of David A. Boone
 8
     Dublin, CA 94568                                     1611 The Alameda
 9                                                        San Jose, CA 95126
     Joint Debtor
10   Trinidad Rodrigo Caoili                              Chapter 13 Trustee
11   6727 Spruce Lane                                     Martha G. Bronitsky
     Dublin, CA 94568                                     P.O. Box 5004
12                                                        Hayward, CA 94540
     Debtors’ Counsel
13   David A. Boone                                       U.S. Trustee
14   Law Offices of David A. Boone                        Office of the U.S. Trustee/Oak
     1611 The Alameda                                     Office of the United States Trustee
15   San Jose, CA 95126                                   Phillip J. Burton Federal Building
                                                          450 Golden Gate Ave. 5th Fl., #05-0153
16                                                        San Francisco, CA 94102
17
     _xx___(By First Class Mail) At my business address, I placed such envelope for deposit with
18   the United States Postal Service by placing them for collection and mailing on that date
     following ordinary business practices.
19
20   ______Via Electronic Mail pursuant to the requirements of the Local Bankruptcy Rules of the
     Eastern District of California
21
     __xx_(Federal) I declare under penalty of perjury under the laws of the United States of
22
     America that the foregoing is true and correct.
23
            Executed on August 16, 2018 at Santa Ana, California
24
     /s / Jeremy Romero
25
     Jeremy Romero
26
27
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                                                      2
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                                      CERTIFICATE           08/16/18 15:20:02
                                                   OF SERVICE                             Page 5 of 5
